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                UNITED STATES COURT OF APPEALS

                                TENTH CIRCUIT
                              _____________________

                             NOS. 23-2155 & 23-2156
                              _____________________

UNITED STATES OF AMERICA,

                  Plaintiff/Appellant,

     vs.

THOMAS CROSBY,

                  Defendant/Appellee.

           _____________________________________________________

           Appeal from the United States District Court
                   For the District of New Mexico
      District Court Nos. 1:22-cr-864-DHU & 1:20-cr-1766-DHU
      Hon. David Herrera Urias, United States District Judge
        _____________________________________________________

                     APPELLANT’S REPLY BRIEF
                    __________________________________



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                                     REPLY

I.     The United States raises no procedural-error claims.

       Crosby contends that the United States raises a procedural claim when

it argues that the district court “ignored” his decade-long practice of

possessing child pornography, the aggravating nature of his offense, and his

“real-time recidivism” in continuing to possess child pornography even after

his collection was seized by law enforcement. AB.5–11. 1 While there is some

ambiguity in the term “ignore,” the United States’ point was that the district

court’s time-served sentence disregarded the identified factors. The United

States is not arguing that the court failed to consider these factors, only that

they are inadequately reflected in the district court’s sentence. This is a

substantive error. See United States v. Gross, 44 F.4th 1298, 1303 (10th Cir.

2022) (“[P]rocedural error is the failure to consider all the relevant factors,

whereas substantive error is when the district court imposes a sentence that

does not fairly reflect those factors.”) (quotation omitted). To be clear, the

United States is only challenging the substantive reasonableness of Crosby’s

sentence.




1 The answer brief is cited as “AB.[page]” and the opening brief as

“OB.[page].”

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II.     The sentence imposed is substantively unreasonable.

        A.    The time-served sentence does not meet the need for
              retribution under § 3553(a)(2)(A).

        Addressing the need for the sentence to reflect the seriousness of the

offense, promote respect for the law, and provide just punishment, Crosby

first argues that the district court’s variance is justified by its policy

disagreement with certain offense-level enhancements in USSG § 2G2.2.

AB.13. He points to the district court’s findings that these enhancements

capture conduct that is part of the vast majority of child-pornography cases

and that these enhancements were intended to target more serious and

culpable offenders. Id. As set forth in the opening brief at 35–36, the district

court’s policy disagreement with these enhancements does not explain why a

time-served sentence, well below the base offense level for his offense,

adequately meets the need for retribution for Crosby’s crimes. Regardless of

how Crosby’s conduct compares to that of other offenders, the district court

was required to impose a sentence that reflects the seriousness of what

Crosby actually did. In his answer brief, Crosby offers no argument to explain

how a five-day, time-served sentence adequately reflects the seriousness of

his conduct in two separate cases of possessing and making publicly available

via peer-to-peer networks numerous horrifying images depicting the sexual

abuse of young children.


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      Crosby next contends that his term of supervised release should be

considered in evaluating whether his sentence provided just punishment.

AB.14–15. To support his position, Crosby cites Gall v. United States, 552

U.S. 38, 48 (2007), which details the substantial restrictions on liberty

inherent in a probationary sentence. But by statute, probation may properly

serve the retributive purposes of § 3553(a)(2)(A), see 18 U.S.C. § 3562(a),

while supervised release may not. See 18 U.S.C. § 3583(c) (omitting §

3553(a)(2) as a consideration in imposing supervised release); United States

v. Booker, 63 F.4th 1254, 1259–61 (10th Cir. 2023) (“[W]hen a statute uses

mandatory language to direct a court to consider some but not all § 3553(a)

sentencing factors, it is procedural error to consider an unenumerated

factor.”). 2 The same statutory prohibition precludes this Court from relying

on Crosby’s term of supervised release to conclude that his sentence

adequately reflected the retributive purposes of § 3553(a)(2)(A). No matter

how restrictive Crosby’s conditions of supervised release are, they cannot

serve as punishment for his crimes. 3


2 Contrary to Crosby’s suggestion, AB.14, the United States is not contending

that the district court ran afoul of this prohibition; indeed, the court never
indicated that it was imposing the term of supervised release for retributive
purposes. Instead, the United States is arguing that imposing a term of
supervised release for retributive purposes is statutorily prohibited and thus
cannot support the substantive reasonableness of his sentence.
3 Crosby’s original 15-year term of supervised release was recently reduced to

10 years. On March 11, 2024, the district court in the Western District of
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      That leaves restitution. While Crosby is correct that the restitution

may “‘to some degree’” “‘inflict criminal punishment and serve as a

deterrent,’” the $12,000 of restitution ordered in this case is simply not

enough to meet the retributive needs of § 3553(a)(2)(A). See AB.13 (quoting

United States v. Anthony, 25 F.4th 792, 798 (10th Cir. 2022)). The district

court imposed the restitution mandated by statute. See 18 U.S.C. § 2259;

1Appx.98. The amount of restitution imposed was not based on a deliberative

judgment as to the culpability of Crosby’s conduct; it was based on the fact

that only six of his victims happened to file claims. 2Appx.11 ¶ 34. Nothing in

the district court’s discussion suggests that the court intended the restitution

to serve the purpose of retribution. 1Appx.98. And even if it did, it is woefully

insufficient to provide just punishment for Crosby’s crimes. Twelve thousand

dollars barely buys a serviceable used car. Crosby will be required to pay no

more than $200 a month, or 10% of his monthly income. Id. This in no way




Pennsylvania (where his cases were transferred for supervision) revoked
Crosby’s supervised release after he downloaded computer-generated
animated images of child sexual abuse. See United States v. Crosby, No. 2:23-
cr-243-CCW (W.D. Pa.), Doc. 9, 22; No. 2:23-cr-244, Doc. 10, 22. The court
sentenced him to 15 months’ imprisonment and then reduced his term of
supervised release to 10 years to be served upon completion of his revocation
sentence. Doc. 22. This reduction highlights the precariousness of relying on
a term of supervised release to do the work of retribution when it can be
modified at any time. See 18 U.S.C. § 3583(e).

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adequately reflects the seriousness of Crosby’s conduct, the harm imposed on

his victims, or the need to promote respect for the law.

      Crosby takes issue with the United States’ reliance on United States v.

Walker, 844 F.3d 1253 (10th Cir. 2017), for the proposition that Crosby’s five-

day pretrial detention does not constitute punishment. AB.15 (citing OB.28).

In Walker, this Court found that Walker’s “33 days in pretrial detention and

13 months in a residential treatment program” “did not provide any punitive

sanctions for the two bank robberies.” Id. at 1259. It pointed out that Walker

was “temporarily detained for 33 days because he had requested

postponement of his detention hearing and confinement was statutorily

required prior to the hearing.” Id. Similarly, here, Crosby’s five-day sentence

merely reflects the amount of time he waited for his detention hearing.

2Appx.2.

      Instead of focusing on the proposition for which Walker was cited,

Crosby seeks to distinguish his case from Walker on its facts. AB.15–16.

Crosby’s situation, of course, does not lend itself to direct comparison with a

career offender who robbed two banks. But the district court here made some

of the same misjudgments as the district court in Walker. In Walker, “the

district court focused almost exclusively on Mr. Walker’s newfound sobriety”

844 F.3d at 1259. Here, the district court also focused almost entirely on

Crosby’s recently-diagnosed autism. See 1Appx.89–91. And both district

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courts misevaluated the § 3553(a) factors in the same way: “[B]y declining to

impose any prison time,” they “effectively failed to give any weight to the

congressional values of punishment, general deterrence, incapacitation,

respect for the law, and avoidance of unwarranted sentencing disparities.”

Walker, 844 F.3d at 1259. Despite its factual distinctions, Walker illustrates

the same error committed by the district court here.

      B.    The district court’s overemphasis on Crosby’s history and
            characteristics is manifestly unreasonable.

      Crosby’s characterization of the United States’ argument as a dispute

over the weight the district court assigned to his autism diagnosis

misunderstands the United States’ position. AB.8. The United States

recognizes that Crosby’s autism diagnosis was an appropriate sentencing

consideration and may well have supported some degree of variance from his

guideline range. But the district court exceeded the limits of discretion when

it imposed a sentence based almost entirely on Crosby’s diagnosis that

disregarded the other § 3553(a) purposes.

      Crosby’s reliance on United States v. DeRusse, 859 F.3d 1232 (10th Cir.

2017), is misplaced. AB.9. In DeRusse, this Court affirmed a downward

variance in a kidnapping case from a guideline range of 108 to 135 months to

a sentence of 70 days, time served. Id. at 1234–35. The district court based

the variance on the role that the defendant’s serious mental illness and


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immaturity played in the offense, which was entirely aberrant behavior for

the defendant. Id. at 1235–36. In reviewing the variance, this Court rejected

the government’s argument that the district court gave improper weight to

the defendant’s mental illnesses where they “led to the delusional thinking

that caused him to commit such an out-of-character crime.” Id. at 1238.

      DeRusse stands in contrast to Crosby’s case. There is no indication that

Crosby’s autism and mental health issues were anywhere as extreme as the

delusional thinking caused by DeRusse’s severe mental illness. Despite his

undiagnosed conditions, Crosby graduated from high school and successfully

served in the U.S Air Force during the same ten-year time period when he

was downloading child pornography. See AB.18; 2Appx.8 ¶¶ 23–24, 16 ¶ 68,

17–19 ¶ 72. Moreover, there is no way to characterize Crosby’s conduct as

aberrant or out-of-character. Crosby downloaded child pornography for over a

decade. 2Appx.10 ¶ 28. And even after he was caught by law enforcement, his

collection was seized, and he was other-than-honorably discharged from the

Air Force, he continued to download child pornography. Id. at 10 ¶¶ 28, 30.

Crosby’s case is very different from DeRusse.

      As Judge Baldock observed in his thoughtful dissent in DeRusse:

        [A] large percentage of individuals who commit heinous crimes
        can point to some mitigating factor—drug addiction, childhood
        abuse, a life of poverty, etc.—that partially fuels their decision
        to commit those crimes. But whatever effect these factors
        should have on lessening their sentences, they are almost

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        never so significant that they warrant letting these individuals
        walk away with time-served sentences.

DeRusse, 859 F.3d at 1242 (emphasis in original). This certainly holds true in

Crosby’s case. Crosby’s diagnoses may help explain his behavior, but they

should not excuse him from facing appropriate consequences for his serious

and longstanding criminal conduct.

      C.    The sentence imposed does not reflect the need for
            general deterrence under § 3553(a)(2)(B).

      Crosby argues that the five-day sentence combined with $12,000 in

restitution promotes general deterrence. AB.16. But it is hard to see how.

Crosby’s sentence, even taking into account his restitution, does not convey to

would-be offenders that the possession of child pornography is a serious

offense that will result in significant punishment. On the contrary, it

suggests that it is a relatively minor crime that may result in nothing more

than a modest financial penalty. Crosby’s sentence undermines the purpose

of general deterrence.

      Crosby argues that restitution has “a more precise deterrent effect,”

citing Kelly v. Robinson, 479 U.S. 36, 49 n.10 (1986). AB.16. But this is only

as compared to “a traditional fine, paid to the States as an abstract and

impersonal entity, and often calculated without regard to the harm the

defendant has caused.” Kelly, 479 U.S. at 49 n.10. This comparison between

restitution and fines (which were not imposed here) does not speak to

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whether five days’ imprisonment and $12,000 in restitution affords adequate

deterrence to would-be child-pornography offenders.

      D.    The sentence is insufficient to promote incapacitation as
            required by § 3553(a)(2)(C).

      Crosby contends that the United States’ concern regarding his “real-

time recidivism,” as it pertains to § 3553(a)(2)(C), was rejected by the district

court through its reliance on Dr. Joy’s findings that “‘individuals who commit

child pornography offenses are lower risk for recidivism than other sex

offenders’” and that “‘[a]utistic individuals’” like Crosby “‘are likely to follow

rules when set in place.’” AB.10–11 (quoting 1Appx.90). But as explained in

the opening brief at 33–34, Crosby’s documented history of reoffending

demonstrates that these generalized observations do not hold true in Crosby’s

case. Crosby points out that the district court “‘need not rely on every single

factor’” under § 3553(a) in imposing a sentence. AB.11 (quoting United States

v. Barnes, 890 F.3d 910, 916 (10th Cir. 2018)). But the recognition that some

§ 3553(a) factors may be more applicable than others in a given case does not

permit the district court to disregard directly relevant information regarding

an applicable § 3553(a) factor. To conclude that Crosby posed a low risk of

recidivism because his offense involved child pornography or because he is

autistic—when Crosby had already reoffended after being caught once with

child pornography—was an abuse of discretion.


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      Crosby also points to the district court’s imposition of a special

condition of supervised release requiring location monitoring in an attempt to

show that the district court’s sentence provided for the need to deter Crosby

from committing future crimes. AB.11, 16–17. But given the nature of his

crimes, Crosby can reoffend from his own bedroom—all he needs is the

internet. The location monitoring may constrain Crosby’s freedom, but it does

not effectively incapacitate him from possessing child pornography.

      E.    Crosby’s sentence creates an unwarranted sentencing
            disparity that § 3553(a)(6) instructs courts to avoid.

      Regarding the need to avoid unwarranted sentencing disparities,

Crosby argues that extraordinary circumstances are not required for a

sentence outside the guideline range, citing Gall, 552 U.S. at 47. AB.17–18.

While true, extraordinary circumstances remain relevant in evaluating

whether a sentencing disparity among similarly-situated defendants is

warranted. Indeed, a comparison “among defendants with similar records

who have been found guilty of similar conduct” is expressly required by

§ 3553(a)(6). And in conducting substantive reasonableness review, this

Court looks to whether the parties have identified cases with similar

sentences for similar conduct. See Walker, 844 F.3d at 1258. In its opening

brief, the United States identified numerous cases in which child-

pornography offenders received sentences far longer than Crosby’s. OB.37–


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39, 41 n.11. Crosby, on the other hand, identifies no sentence of comparable

lenience that has been affirmed on appeal. AB.17–18.

      Instead, Crosby emphasizes the uniqueness of his personal

circumstances. Citing his recent autism diagnosis, he takes issue with the

United States’ observation that most child-pornography offenders have

psychological issues, OB.37, pointing out that autism is not a “psychological

issue,” but a “developmental, neurological disorder.” 4 AB.17–18. This

distinction is not material. While the United States’ general point was not

tailored to Crosby’s specific diagnosis, it cited three cases in which child-

pornography offenders with autism (or Asperger’s Syndrome, which is now

recognized as a form of autism) were sentenced to substantially longer

sentences than Crosby. OB.37 n.9. Crosby’s autism diagnosis does not explain

the extreme difference between his sentence and that of other similarly-

situated defendants.

      Crosby also cites his service in the U.S. Air Force, his lack of criminal

history, his high-school education, and his full-time employment. AB.18. But

an educated, successful defendant is not more deserving of a lenient sentence

than a poor, unemployed defendant convicted of the same conduct. See United



4 Crosby’s sentence also took into account his depression and other mental

health concerns, which can fairly be characterized as psychological issues.
1Appx.90, 95.

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States v. Sample, 901 F.3d 1196, 1199–1200 (10th Cir. 2018). Factors such as

military service, education, and employment successes are frequently cited at

sentencing to show that the defendant’s criminal conduct was an aberration,

totally out of character for an otherwise law-abiding citizen. But here, Crosby

was possessing and trading child pornography the entire time he was racking

up these achievements. 2Appx.8 ¶ 24, 10 ¶ 28. His criminal activities were

not an aberration; they were routine. Moreover, Crosby’s successes stand in

tension with his reliance on his autism diagnosis to explain why a more

lenient sentence is warranted. His ability to succeed, even in a highly-

regimented military career, despite “his social deficits” and “restricted

interests,” does not suggest that his autism rendered him unable to comply

with the law prohibiting possession of child pornography. See 1Appx.90.

      Beyond Crosby’s autism and professional and educational history,

already discussed above, Crosby points to his briefing before the district court

without raising any of the substantive issues contained therein. AB.17. Tenth

Circuit Rule 28.3 disapproves of the practice of incorporating portions of

district-court briefs by reference. Under that Rule, such references do “not

satisfy the requirements of Federal Rules of Appellate Procedure 28(a) and

(b).” Crosby has waived these arguments by not presenting them in his




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answer brief. 5 See United States v. Gordon, 710 F.3d 1124, 1137 n.15 (10th

Cir. 2013).

      Crosby also cites Gall for the proposition that a time-served sentence

avoids unwarranted sentencing disparities. AB.17. Gall, however, merely

stated that on the facts of that case, the district court “considered the need to

avoid unwarranted similarities among other co-conspirators who were not

similarly situated.” 552 U.S. at 55 (emphasis in original). Gall cited specific

facts from the record showing why Gall was not similarly situated to one of

his co-defendants, who was “in the conspiracy at its end and therefore was

sentenced under the more severe Guidelines,” “had a more serious criminal

history,” and “did not withdraw from the conspiracy.” Id. Gall observed that

the district court distinguished Gall from his codefendants who, unlike Gall,

did not withdraw from the conspiracy or rehabilitate themselves in the way

Gall had done. Id. at 55–56. In sum, Gall affirmed a probationary sentence

where the district court meaningfully distinguished between codefendants on

a reasonable basis. Gall provides an example of how a probationary sentence

avoided unwarranted sentencing similarities under the particular facts of



5 In any event, the sentencing statistics cited in Crosby’s district-court

briefing involve downward variances generally, but offer no specific sentences
with which to compare Crosby’s five-day sentence. 2Appx.71–72. The briefing
also references the district court’s policy-based disagreement with USSG
§ 2G2.2, which is discussed above at page 2 and in the opening brief at 35–36.

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that case, but it offers no support for the generalized proposition that a time-

served sentence serves the purpose of avoiding sentencing disparities.

      Finally, Crosby argues that this Court should defer to the district

court’s finding that the sentence imposed addressed the need to avoid

unwarranted sentencing disparities. AB.18. But the district court offered no

explanation for how a time-served sentence helps avoid sentencing disparities

in this case, see 1Appx.89, the record reveals no basis for this conclusion, and

Crosby has supplied none on appeal.

      F.    The need for restitution cannot justify such a lenient
            sentence.

      Crosby distinguishes his case from Sample, 901 F.3d 1196, because

unlike Sample, the district court here did not focus entirely on restitution at

the expense of all other sentencing factors. AB.19. Be that as it may, the

point of the United States’ citation to Sample is simply that restitution alone

cannot justify a downward variance where the variance does not comply with

the other purposes set forth in § 3553(a). OB.39–40. If the need for restitution

was paramount, noncustodial sentences would always be preferred because

they necessarily provide more opportunity for income and thus payment of

restitution. But because restitution cannot “overrid[e] all other sentencing

considerations,” Sample, 901 F.3d at 1200, this factor alone cannot save




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Crosby’s sentence where it otherwise fails to meet the purposes of sentencing

in § 3553(a). 6

      G.     Cookson supports reversal.

      Crosby objects to the United States’s reliance on United States v.

Cookson, 922 F.3d 1079 (10th Cir. 2019). 7 AB.19–20. Crosby argues that

unlike Cookson, he was not a recidivist offender because he committed his

second child-pornography offense before he could be convicted on his first.

AB.19. He relies on Black’s Law Dictionary (11th ed. 2019), which defines a

recidivist as:

      1.     Someone who has been convicted of multiple criminal
             offenses, usu[ally] similar in nature; a repeat offender . . . .




6 In a footnote in his facts section, Crosby states, “The Government’s brief

does not acknowledge the district court’s analysis and consideration of 18
U.S.C. § 3553(a)(2)(D) and (3).” AB.4 n.2. Because Crosby provides no
additional argument on these factors, the United States will not address
them further beyond pointing to OB.40, which addresses the district court’s
analysis of the need for rehabilitation under § 3553(A)(2)(D). As to
§ 3553(a)(3), the district court did not address this factor other than its
introductory reference to “the kind of sentences available pursuant to
3553(a)(3),” 1Appx.89, and no party requested a different kind of sentence,
such as probation or a fine, see 2Appx.30.
7 Crosby contends that Cookson does not preclude a probationary sentence.

AB.19. Crosby’s sentence was not probationary; he was sentenced to five-
day’s custody and a term of supervised release. 1Appx.104–05. As discussed
above at page 3, this makes a difference in whether the district court could
consider retribution under § 3553(a)(2)(A) in imposing probation or
supervised release. See 18 U.S.C. §§ 3562(a), 3583(c).

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      2.    A criminal who, having been punished for illegal activities,
            resumes those activities after the punishment has been
            completed . . . .

Crosby certainly meets the second definition—he received punishment for his

first offense in the form of an other-than-honorable discharge from the Air

Force and seizure of his devices, and yet he continued to download and

possess child pornography.

      Ultimately, whether Crosby meets the technical definition of a

recidivist or not is beside the point. The fact remains that despite his other-

than-honorable discharge and the seizure of his child pornography collection

by law enforcement, Crosby continued to violate the law and was charged and

convicted in not one, but two separate cases for possession of child

pornography. 2Appx.4 ¶¶ 1–3. This is an aggravating factor that warrants

more severe punishment and suggests that Crosby has an increased risk of

reoffending. While the district court clearly considered this factor, see AB.20,

it is not reflected in Crosby’s lenient sentence.

      Crosby also points out that Cookson is distinguishable because the

defendant there had prior criminal convictions where Crosby does not.

AB.19–20. Crosby ignores, however, that the district court in Cookson found

that the defendant’s criminal history was overrepresented, noting that four

out of his six criminal-history points were for a misdemeanor marijuana-

possession charge. 922 F.3d at 1086. This criminal history for a minor charge

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unrelated to child pornography is far less concerning than Crosby’s repeated

possession of child pornography.

      While Cookson did not “foreclose the possibility that a more detailed

explanation from the district court of the weight it afforded § 3553(a) factors

other than § 3553(a)(1) could yield a similar, but substantively reasonable,

sentence on remand,” 922 F.3d at 1096, this was a result of the unique

challenge of reviewing the district court’s sentence in Cookson. This Court

concluded that Cookson’s sentence was not substantively reasonable based

“in large part” “on the significant variance in Mr. Cookson’s sentence and the

district court’s limited and inconsistent explanation for that variance”

(including its misunderstanding of the plea agreement). Id. at 1095. This

reasoning meant that the district court enjoyed greater discretion on remand.

This is because “the heavier [this Court’s] reliance on the inadequacy of the

district court’s explanation . . ., the less [this Court’s] decision restricts the

bounds of reasonable choice available to the district court in crafting a

sentence on remand.” Id. at 1092 (quotation omitted). Here, in contrast, the

district court’s explanation for Crosby’s sentence sets forth its reasons for the

variance and allows for meaningful review by this Court. The problem is not

the adequacy of the district court’s explanation; it is its substance. Because

the district court’s sentence exceeds the bounds of permissible choice, a more



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detailed explanation cannot cure Crosby’s substantively unreasonable five-

day sentence.

                               CONCLUSION

     The district court’s five-day, time-served sentence for two child-

pornography cases exceeds the bounds of permissible choice. This Court

should vacate the sentence and remand for resentencing.

                                            Respectfully submitted,

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                    TYPE-VOLUME CERTIFICATION

      Pursuant to Federal Rule of Appellate Procedure 32(g), I certify that

this brief contains 3,958 words. I relied on my word processor to obtain the

count. My word processing software is Word 2016.

                                            s/ Tiffany L. Walters
                                            TIFFANY L. WALTERS
                                            Assistant United States Attorney




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      CERTIFICATE OF SERVICE AND DIGITAL SUBMISSION

      I HEREBY CERTIFY that the foregoing brief was filed with the Clerk

of the Court for the United States Court of Appeals for the Tenth Circuit by

using the appellate CM/ECF system on March 25, 2024, and that seven

photocopies of the foregoing brief will be sent by Federal Express to the

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compliant.

      I ALSO CERTIFY that Amanda Skinner, attorney for Defendant-

Appellee Thomas Crosby, is a registered CM/ECF user, and that service will

be accomplished by the appellate CM/ECF system.

                                            s/ Tiffany L. Walters
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